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             6                               UNITED STATES DIST                          CT O U           jg clo :
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             7                                             DISTRICT OF N                 ADA       QWIRIQI
             8 UNITED STATES OF AM ERICA                                                 M1
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             6/                        l'lftilltitll        )
                                                            )
            10         v.                                   )           2:lI-CR-4O3-M MD-IPAL)
            1                                               )
             1 W ILLIAM MORRISON,                           )
            1                                               )
             2                         D efendant.                                   '
            13                                  FINAL ORDER OF FORFEITURE
            14           On July 13,2012,tlle United States District Courtfor the DistrictofN evada entered a
            15 Prelim inary OrderofForfeitlzrepursumltto Fed.R. Crilp.P,32.
                                                                          2(b)(1)and(2);Titlel8,UnitedStates
            16 CodesSection 924(d)(1)andTitle2%,United SttesCode,Sedion 2461(c),based uponthepleaof
            17iguiltybydefendantW ILLIAM M ORRISON toacrim inaloffense, forfeiting specitk propertyalleged
            18 in tlw Crim inallndiotmtntand agreedto inthePleaM emorandum , and shownbytiw United Stattsto
            19 have the requisite nexus to the offense to which defendantW ILLIAM M ORRISON pled guilty.

i           20 Crim inal Indictm ent,ECF No. 1;M inutes of Change of Plea Preceediags, ECF No,9l) Plea
I           21 M emorandum , ECF No.92;Prelim inmy OrderofForfeimres ECF N o.93.
            22           n is Courttinds the United States ofAm erica published the notice ofthe forfeiture in
I
(           23 accordance with the law via the ofticialgovelnm ent internetfodkiture site, w w w .forfeiture,gov,
            24 consecutively from July20,2012, through A ugustl8,2012,notifying a1lthird partiesoftheirrightto
            25 petition theCourt.NoticeofFiling ProofofPublication, ECF N o.97.
            26 .,.                                              ',         ,. .k i
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 1          0nAugust27,2012,DAVID E.PULSE wasserved by personalin-handservicewithacopy
 2 ofthePreliminac OrderofForfeitureandtheNotiçe.NoticeofFilingServiceofProcess, ECF No.99.
 3          On August30,2012,DAVID E.PULSE tiled with the courta Petition for Hearing to
 4 AdjudicateLegallnterestinPropertyrelatingtotheGlockM odel23,.40calibersemi-automaticpistol,
 5 serialnumberATX51IUS.(Filed Sealed)
 6          On September6,2012,DAVID E. PULSE filed with the courta M otion to W ithdraw his
 7 claim .M otion ofDavid Pulseto W ithdraw ClaimsECF No. 101,
 8          On Septem ber 6,2012, the Petition,Stipulation for Return ofProperty and Order as to

 9 DAVID E.PULSE wasfiled.(ECF.No.100), On September7,2012,theCourtentered theOrder
                                          .   t''..'             t
10 grantingthePetition,StipulationforReturno?Property.(ECFNo.102).
11          ThisCourtfindsno otherpetitionsweretlled herein by oronbehalfofany personorentity
12 andthetime forfiling such petitionsandclaimshasexpired.
13          ThisCourttindsnopetitionsarependingwithregardtotheassetsnamedhereinand thetim e
14 forpresenting such petitionshasexpired.
15          THEREFORE,IT IS HEREBY ORDERED, ADJUDGED,AND DECREED thatallright,
16 title,andinterestinthepropertyhereinatterdescribed iscondemned, forfeited,andvestedintheUnited
17 StatesofAmericapursuantto Fed.R.Crim .P, 32.
                                              2(b)(4)(A)and(B);Fed.R.Crim.P.32.2(c)(2);Title
18 18,UnitedStatesCode,Scction924(d)(1)andTitle28,UnitedStatesCode,Section2461(c);andTitle
19 21,UnitedStatesCode,Section 853(n)(7)and shallbedisposedofaccordingtolaw:
20                a.      GlockM odel23,.40calibersem i-autom aticpistol, serialnumberATX51IUSF
21                       mld            lu) '.f.l
                                                       .j)
22                b,     anyandalIammunition C6property'').
23 ...
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25 ..,
26 ...


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 1          TheClerk ishereby directed to send copiesofthisOrderto a1lcotm selofrecord and tluiù
 2 certified copiestotheUnited StatesAttorney'éD ffice.
 3          DATED this     tc'li'fzvdayofS       .   wx      ,2012.
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